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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


SAN LUIS VALLEY ECOSYSTEMS                    )   Case No. 1:21-cv-02994-REB
COUNCIL, SAN JUAN CITIZENS                    )
ALLIANCE, and WILDEARTH GUARDIANS,            )
                                              )   RESPONDENTS’ NOTICE OF
      Petitioners,                            )   LODGING THE ADMINISTRATIVE
                                              )   RECORD
      v.                                      )
                                              )
DAN DALLAS, in his official capacity as       )
Forest Supervisor for the Rio Grande          )
National Forest; and UNITED STATES            )
FOREST SERVICE, a federal agency of the       )
United States Department of Agriculture,      )
                                              )
     Respondents.                             )
                                              )


      Respondents notice of the lodging of the Forest Service’s Administrative Record

for the Rio Grande National Forest Land Management Plan (“Forest Plan”), which is the
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subject of this litigation.

       The Forest Service’s Administrative Record consists of documents bearing Bates

numbers Rvsd Plan-00000001 through Rvsd Plan-00023298. The declaration of Judith

A. Perez, Forest Planner for the Rio Grande National Forest, accompanies the

Administrative Record and is attached to this notice as Exhibit 1. A copy of the index of

the Administrative Record is attached to this notice as Exhibit 2.

       The Forest Service’s Administrative Record is contained on a single USB flash

drive and is also available on the cloud. Respondents provided a link to the cloud-

based Administrative Record to counsel for Petitioners on March 4, 2022. Respondents

will provide two USB flash drives containing the Administrative Record to the Chambers

of the Honorable Robert E. Blackburn via Federal Express within three business days.



       Respectfully submitted on this 4th day of March, 2022.


                                   TODD KIM
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